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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CASSAVA SCIENCES, INC.,
                                                         Civil Action No. 22-cv-9409
         Plaintiff,

 v.

 DAVID BREDT; GEOFFREY PITT;
 QUINTESSENTIAL CAPITAL
 MANAGEMENT LLC; ADRIAN HEILBUT;
 JESSE BRODKIN; ENEA MILIORIS; and
 PATRICK MARKEY,

         Defendants.



        PLAINTIFF CASSAVA SCIENCES, INC.’S CORPORATE DISCLOSURE
                              STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Cassava Sciences,

Inc. (“Cassava”), hereby advises the Court that it is a publicly traded company and does not have

a parent corporation. No publicly held corporation owns 10% or more of Cassava’s stock. Cassava

has no publicly held affiliates or subsidiaries.



Dated: Nov. 2, 2022



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